 Case 2:22-cv-00460-JRG        Document 358 Filed 02/13/25           Page 1 of 10 PageID #:
                                         18009




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION

FORCE MOS TECHNOLOGY CO., §
LTD.,                                §
             Plaintiff, §
                                                   CASE NO. 2:22-CV-00460-JRG
v-                            §
ASUSTEK COMPUTER, INC., §
                                            o

             Defendant.


                                   VERDICT FORM

      In answering the following questions and completing this Verdict Form, you are

to follow all the instructions that I have given you in the Court s Final Jury Instructions.

Your answers to each question must be unanimous. Some of the questions contain legal

terms that are defined and explained in detail in the Final Jury Instructions. You should

refer to and consider the Final Jury Instructions as you answer the questions in this

Verdict Form.
Case 2:22-cv-00460-JRG    Document 358 Filed 02/13/25       Page 2 of 10 PageID #:
                                    18010




    As used in this Verdict Form, the following terms have the following meanings:


     • Force MOS refers to Plaintiff Force MOS Technology, Co., Ltd.

     • “ASUSTeK refers to Defendant ASUSTeK Computer, Inc.

     • The “ 634 Patent refers to U.S. Patent No. 7,629,634.

     • The “’409 Patent” refers to U.S. Patent No. 7,812,409.

     • The “Asserted Patents refers collectively to the 634 and 409 Patents.

     • “Dr. Hshieh refers to Dr. Fwu-Iuan Hshieh who is the inventor of the ’409
        Patent.




                                       2
Case 2:22-cv-00460-JRG   Document 358 Filed 02/13/25   Page 3 of 10 PageID #:
                                   18011




      IT IS VERY IMPORTANT THAT YOU FOLLOW THE

    INSTRUCTIONS PROVIDED IN THIS VERDICT FORM




    READ THEM CAREFULLY AND ENSURE THAT YOUR

               VERDICT COMPLIES WITH THEM




                                   3
 Case 2:22-cv-00460-JRG     Document 358 Filed 02/13/25        Page 4 of 10 PageID #:
                                      18012




QUESTION NO. 1

Did Force MOS prove by a preponderance of the evidence that it acquired all rights in

the 409 Patent from Dr. Hshieh?




                      Yes:                     No:




If you answered NO to Question No. 1, DO NOT answer any other questions
concerning only the 409 Patent. Specifically, if you answered “NO to Question
No. 1 then DO NOT answer Question Nos. 2B and 3.

Only answer Question Nos. 2B and 3 if you answered “YES to Question No. 1.




                                         4
Case 2:22-cv-00460-JRG       Document 358 Filed 02/13/25   Page 5 of 10 PageID #:
                                       18013




QUESTION NO. 2A

Did Force MOS prove by a preponderance of the evidence that ASUSTeK infringed

any of Claims 1-3 of the 634 Patent?




                                             No:




QUESTION NO. 2B

Did Force MOS prove by a preponderance of the evidence that ASUSTeK infringed

Claim 1 of the 409 Patent?




                    Yes:                     No:




                                        5
Case 2:22-cv-00460-JRG   Document 358 Filed 02/13/25   Page 6 of 10 PageID #:
                                   18014




QUESTION NO. 3

Did ASUSTeK prove by clear and convincing evidence that Claim 1 of the 409

patent is invalid?




                     Yes:




                                    6
Case 2:22-cv-00460-JRG   Document 358 Filed 02/13/25   Page 7 of 10 PageID #:
                                   18015




Only answer Question Nos. 4 and 5 if you found that at least
one of the Asserted Patents is infringed and is not invalid.



If you answered NO to both Question Nos. 2A and 2B, you
SHOULD NOT answer Question Nos. 4 and 5.



If you answered (1) “NO to Question No. 2A, (2) “YES” to
Question No. 2B, and (3) “YES” to Question No. 3, you
SHOULD NOT answer Question Nos. 4 and 5.



However, if you answered (1) “NO” to Question No. 2A, (2)
“YES” to Question No. 2B, and (3) “NO” to Question No. 3,
you MUST answer Question Nos. 4 and 5.



Finally, if you answered “YES” to Question No. 2A, then,
re ardless of how you answered Question Nos. 2B and 3, you
MUST answer Question Nos. 4 and 5.




                                    7
Case 2:22-cv-00460-JRG     Document 358 Filed 02/13/25      Page 8 of 10 PageID #:
                                     18016




QUESTION NO. 4

Did Force MOS prove by a preponderance of the evidence that any infringement you

have found was willful?




                    Yes:                     No:




                                        8
Case 2:22-cv-00460-JRG      Document 358 Filed 02/13/25       Page 9 of 10 PageID #:
                                      18017




QUESTION NO. 5
What sum of money, if paid now in cash, has Force MOS proven by a preponderance

of the evidence would compensate it for its damages as to any infringement you have

found?


Answer in United States Dollars and Cents, if any:




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                                         9
Case 2:22-cv-00460-JRG      Document 358 Filed 02/13/25      Page 10 of 10 PageID #:
                                      18018




                 FINAL PAGE OF THE JURY VERDICT FORM

      You have now reached the end of the Verdict Form and you should review it

to ensure it accurately reflects your unanimous determinations. The Jury Foreperson

should then sign and date the Verdict Form in the spaces below. Once this is done,

notify the Court Security Officer that you have reached a verdict. The Jury

Foreperson should keep the Verdict Form and bring it when the jury is brought back

into the comiroom.

 Signed this /   J   day of February, 2025.




                                       Jury Foreperson




                                         10
